 Fill in this information to identify your case:

 Debtor 1                   Charles D. Young
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF LOUISIANA

 Case number             5:24-bk-10242
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             250,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              78,146.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             328,146.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             286,776.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                3,769.00


                                                                                                                                    Your total liabilities $                290,545.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,974.11

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,954.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
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                       24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 1 of 46
 Debtor 1      Charles D. Young                                                           Case number (if known) 5:24-bk-10242

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       7,264.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                 24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 2 of 46
 Fill in this information to identify your case and this filing:

 Debtor 1                     Charles D. Young
                              First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number             5:24-bk-10242                                                                                                                            Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         4803 N Market St.                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
         Shreveport                        LA        71107                              Land                                       entire property?          portion you own?
         City                              State              ZIP Code                  Investment property                               $250,000.00                $250,000.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only
                                                                                        Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                       $250,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                   Schedule A/B: Property                                                                   page 1
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 Debtor 1           Charles D. Young                                                                                Case number (if known)      5:24-bk-10242
3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.1    Make:      Chevrolet                               Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
            Model:     2500                                          Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
            Year:      2019                                          Debtor 2 only                                           Current value of the      Current value of the
            Approximate mileage:             120,000                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                             $12,751.00                 $12,751.00
                                                                      (see instructions)



                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.2    Make:      Harley Davidson                         Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
            Model:     Street Glide                                  Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
            Year:      2019                                          Debtor 2 only                                           Current value of the      Current value of the
            Approximate mileage:               28,000                Debtor 1 and Debtor 2 only                              entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                             $26,183.00                 $26,183.00
                                                                      (see instructions)



                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.3    Make:      Harley Davidson                         Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
            Model:     Soft Tail                                     Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
            Year:      2016                                          Debtor 2 only                                           Current value of the      Current value of the
            Approximate mileage:               16,000                Debtor 1 and Debtor 2 only                              entire property?          portion you own?
            Other information:                                       At least one of the debtors and another


                                                                     Check if this is community property                             $16,492.00                 $16,492.00
                                                                      (see instructions)




4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $55,426.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                    Furniture & Appliances                                                                                                         $6,000.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....
                                    Electronics                                                                                                                    $1,000.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 2
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 Debtor 1       Charles D. Young                                                                       Case number (if known)    5:24-bk-10242

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....

10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....
                                    Firearms (3)                                                                                                    $2,500.00


11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....
                                    Clothes                                                                                                         $1,000.00


12.    Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....
                                    Wedding Rings                                                                                                     $500.00

                                    Miscellaneous Jewelry                                                                                             $500.00


13.    Non-farm animals
       Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....
                                    Dogs (3)                                                                                                         Unknown


14.    Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                        $11,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

16.    Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................
                                                                                                           Cash                                           $0.00


17.    Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                     Institution name:

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 3
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 Debtor 1       Charles D. Young                                                                    Case number (if known)   5:24-bk-10242


                                      17.1.    Checking                  ANECA                                                                     $215.00



                                      17.2.    Savings                   ANECA                                                                         $5.00


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:

20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28.   Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1        Charles D. Young                                                                                                 Case number (if known)        5:24-bk-10242
29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                       workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                                                             Surrender or refund
                                                                                                                                                                     value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $220.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........
                                            Welding Machine                                                                                                                      $6,000.00

                                            Tools                                                                                                                                $5,000.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here                                    ....................................                $11,000.00

Official Form 106A/B                                                           Schedule A/B: Property                                                                                  page 5
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 Debtor 1         Charles D. Young                                                                                                   Case number (if known)     5:24-bk-10242


 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $250,000.00
 56. Part 2: Total vehicles, line 5                                                                         $55,426.00
 57. Part 3: Total personal and household items, line 15                                                    $11,500.00
 58. Part 4: Total financial assets, line 36                                                                   $220.00
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                           +           $11,000.00

 62. Total personal property. Add lines 56 through 61...                                                    $78,146.00              Copy personal property total             $78,146.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                        $328,146.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                             page 6
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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 8 of 46
 Fill in this information to identify your case:

 Debtor 1                   Charles D. Young
                            First Name                      Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF LOUISIANA

 Case number             5:24-bk-10242
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      4803 N Market St. , Shreveport, LA                             $250,000.00                               $35,000.00      La. Const. Art. 12, § 9;
      71107                                                                                                                    LSA-R.S. § 20:1
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2019 Chevrolet           2500 120,000 miles                     $12,751.00                                 $7,500.00     LSA-R.S. § 13:3881(A)(7)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Furniture & Appliances                                           $6,000.00                                 $6,000.00     LSA-R.S. § 13:3881(A)(4)(a)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Firearms (3)                                                     $2,500.00                                 $2,500.00     LSA-R.S. § 13:3881(A)(4)(g)
      Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Clothes                                                          $1,000.00                                 $1,000.00     LSA-R.S. § 13:3881(A)(4)(a)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                       24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 9 of 46
 Debtor 1    Charles D. Young                                                                            Case number (if known)     5:24-bk-10242
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Wedding Rings                                                       $500.00                                   $500.00        LSA-R.S. § 13:3881(A)(5)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dogs (3)                                                          Unknown                                   Unknown          LSA-R.S. § 13:3881(A)(4)(f)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tools                                                            $5,000.00                                  $5,000.00        LSA-R.S. § 13:3881(A)(2)
     Line from Schedule A/B: 53.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Charles D. Young
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF LOUISIANA

 Case number           5:24-bk-10242
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     East Tx Professional                     Describe the property that secures the claim:                 $12,751.00               $12,751.00                     $0.00
         Creditor's Name                          2019 Chevrolet 2500 120,000 miles


                                                  As of the date you file, the claim is: Check all that
         PO Box 6750                              apply.
         Longview, TX 75608-6750                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred          2020-12                   Last 4 digits of account number        0001

 2.2     Esb/Harley Davidson                      Describe the property that secures the claim:                 $16,492.00               $16,492.00                     $0.00
         Creditor's Name                          2016 Harley Davidson Soft Tail
                                                  16,000 miles
         3850 Arrowhead Dr
                                                  As of the date you file, the claim is: Check all that
         Carson City, NV                          apply.
         89706-2016                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred          2021-12                   Last 4 digits of account number        6533




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 11 of 46
 Debtor 1 Charles D. Young                                                                                   Case number (if known)         5:24-bk-10242
                First Name                  Middle Name                     Last Name


 2.3      Nr/sms/cal                                 Describe the property that secures the claim:                  $231,350.00                $250,000.00                  $0.00
          Creditor's Name                            4803 N Market St. , Shreveport, LA
                                                     71107

                                                     As of the date you file, the claim is: Check all that
          55 Beattie Pl                              apply.
          Greenville, SC 29601-2165                       Contingent
          Number, Street, City, State & Zip Code          Unliquidated
                                                          Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
       Debtor 1 only                                      An agreement you made (such as mortgage or secured
       Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                   Other (including a right to offset)  Principal Residence
        community debt

 Date debt was incurred           2023-03                     Last 4 digits of account number        5671

 2.4      Performance Finance                        Describe the property that secures the claim:                   $26,183.00                 $26,183.00                  $0.00
          Creditor's Name                            2019 Harley Davidson Street Glide
                                                     28,000 miles

                                                     As of the date you file, the claim is: Check all that
          1515 W 22nd St                             apply.
          Oak Brook, IL 60523-2007                        Contingent
          Number, Street, City, State & Zip Code          Unliquidated
                                                          Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
       Debtor 1 only                                      An agreement you made (such as mortgage or secured
       Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                   Other (including a right to offset)
        community debt

 Date debt was incurred           2022-04                     Last 4 digits of account number        8760


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $286,776.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $286,776.00

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.2
            CT Corporation
            RA for Harley Davidson                                                                    Last 4 digits of account number
            3867 Plaza Tower Dr.
            Baton Rouge, LA 70816

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.3
            Shellpoint Mortgage
            75 Beattie Pl Ste 300,                                                                    Last 4 digits of account number
            Greenville, SC 29601




Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 2 of 2
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                  24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 12 of 46
 Fill in this information to identify your case:

 Debtor 1                  Charles D. Young
                           First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF LOUISIANA

 Case number           5:24-bk-10242
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim

 4.1          Aneca Federal Credit U                                 Last 4 digits of account number        7000                                                          $232.00
              Nonpriority Creditor's Name
              525 Milam St                                           When was the debt incurred?            2023-06
              Shreveport, LA 71101-3523
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                         Contingent
                  Debtor 2 only                                         Unliquidated
                  Debtor 1 and Debtor 2 only                            Disputed
                  At least one of the debtors and another            Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                Student loans
              debt                                                      Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
                  No                                                    Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                      Other. Specify   Installment account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 4
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 Debtor 1 Charles D. Young                                                                               Case number (if known)         5:24-bk-10242

 4.2      At T                                                       Last 4 digits of account number       4301                                                $991.00
          Nonpriority Creditor's Name
          4222 Trinity Mills Rd                                      When was the debt incurred?           2023-12
          Ste 260
          Dallas, TX 75287-7666
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Open account


 4.3      At T/Directv/Uverse                                        Last 4 digits of account number       7410                                                $480.00
          Nonpriority Creditor's Name
          260 Airport Plaza Blvd                                     When was the debt incurred?           2023-09
          Farmingdale, NY 11735-3946
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Open account


 4.4      Centerpoint Energy Srv                                     Last 4 digits of account number       1656                                                $222.00
          Nonpriority Creditor's Name
          PO Box 1700                                                When was the debt incurred?           1999-09
          Houston, TX 77251-1700
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Open account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 4
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 Debtor 1 Charles D. Young                                                                               Case number (if known)         5:24-bk-10242

 4.5       Credit One Bank NA                                        Last 4 digits of account number       2062                                                         $559.00
           Nonpriority Creditor's Name
           PO Box 98872                                              When was the debt incurred?           2021-03
           Las Vegas, NV 89193-8872
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Revolving account


 4.6       IRS- BK Notices                                           Last 4 digits of account number                                                                       $0.00
           Nonpriority Creditor's Name
           PO Box 7346                                               When was the debt incurred?
           Philadelphia, PA 19101
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                      Other. Specify



 4.7       Syncb/lowes                                               Last 4 digits of account number       7086                                                      $1,285.00
           Nonpriority Creditor's Name
           PO Box 71727                                              When was the debt incurred?           2023-03
           Philadelphia, PA 19176
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Revolving account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credence Resource Mana                                        Line 4.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 4222 Trinity Mills Rd
 Ste 260
 Dallas, TX 75287-7666
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 District Counsel Internal Revenue                             Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 POB 30509
 New Orleans, LA 70190
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 3 of 4
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 Debtor 1 Charles D. Young                                                                              Case number (if known)          5:24-bk-10242

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Louisiana Department of Revenue                               Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Bankruptcy Division
 PO Box 66658
 Baton Rouge, LA 70896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of LA, Dept. of Labor                                   Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Delinquent Accounts Unit, UI Tech
 Support
 1001 North 23rd St., Room 322
 Baton Rouge, LA 70802
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sunrise Credit Service                                        Line 4.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 260 Airport Plaza Blvd
 Farmingdale, NY 11735-3946
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United States Attorney's Office                               Line 4.6 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Western District of Louisiana
 300 Fannin St., Ste. 3201
 Shreveport, LA 71101
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                           0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                           0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $                     3,769.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                     3,769.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 4 of 4
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                24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 16 of 46
 Fill in this information to identify your case:

 Debtor 1                 Charles D. Young
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           5:24-bk-10242
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 17 of 46
 Fill in this information to identify your case:

 Debtor 1                     Charles D. Young
                              First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF LOUISIANA

 Case number             5:24-bk-10242
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           Louisiana       . Fill in the name and current address of that person.
                         Lori Young                                                                           Married since 2023.
                         4803 North Market St.
                         Shreveport, LA 71107
                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name                                                                                      Schedule E/F, line
                                                                                                          Schedule G, line

                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name                                                                                      Schedule E/F, line
                                                                                                          Schedule G, line

                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 18 of 46
Fill in this information to identify your case:

Debtor 1                      Charles D. Young

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF LOUISIANA

Case number               5:24-bk-10242                                                                  Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or                              Supervisor                                 Regional Manager
       self-employed work.
                                             Employer's name        RQ Construction, Barksdale ECF             Block Multifamily Group LLC
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                    21 I-220                                   4622 Pennsylvania Ave.
                                                                    Barksdale AFB, LA 71110                    Kansas City, MO 64112

                                             How long employed there?          Beginning April 2, 2024                  February 2024 to present

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $        6,240.00       $         3,102.09

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $      6,240.00             $   3,102.09




Official Form 106I                                                      Schedule I: Your Income                                                   page 1

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Debtor 1    Charles D. Young                                                                                                         Case number (if known)    5:24-bk-10242


                                                                                                                                         For Debtor 1           For Debtor 2 or
                                                                                                                                                                non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $      6,240.00        $         3,102.09

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $      1,801.67   $                566.31
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $          0.00   $                  0.00
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $          0.00   $                  0.00
     5d.      Required repayments of retirement fund loans                                                                    5d.        $          0.00   $                  0.00
     5e.      Insurance                                                                                                       5e.        $          0.00   $                  0.00
     5f.      Domestic support obligations                                                                                    5f.        $          0.00   $                  0.00
     5g.      Union dues                                                                                                      5g.        $          0.00   $                  0.00
     5h.      Other deductions. Specify:                                                                                      5h.+       $          0.00 + $                  0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $          1,801.67        $           566.31
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $          4,438.33        $        2,535.78
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00    $                0.00
     8b.      Interest and dividends                                                                                          8b.        $              0.00    $                0.00
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $              0.00    $                0.00
     8d.      Unemployment compensation                                                                                       8d.        $              0.00    $                0.00
     8e.      Social Security                                                                                                 8e.        $              0.00    $                0.00
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $                 0.00
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $                 0.00
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00    $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $            4,438.33 + $        2,535.78 = $            6,974.11
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                         0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                           12.    $           6,974.11
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                                                 Schedule I: Your Income                                                                page 2

               24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 20 of 46
Fill in this information to identify your case:

Debtor 1                 Charles D. Young                                                                   Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF LOUISIANA                                              MM / DD / YYYY

Case number           5:24-bk-10242
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?
      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                          121.00
      6b. Water, sewer, garbage collection                                                                6b.    $                           90.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                            0.00
      6d. Other. Specify: Cell Phone                                                                      6d.    $                          340.00
Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1


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Debtor 1     Charles D. Young                                                                          Case number (if known)      5:24-bk-10242

             Internet                                                                                             $                                85.00
             Security System                                                                                      $                                50.00
7.    Food and housekeeping supplies                                                           7.                 $                               855.00
8.    Childcare and children’s education costs                                                 8.                 $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                 $                               145.00
10.   Personal care products and services                                                    10.                  $                                75.00
11.   Medical and dental expenses                                                            11.                  $                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                480.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  0.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 358.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Miscellaneous                                                       21. +$                                               305.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                      2,954.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                      2,954.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,974.11
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,954.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                               4,020.11

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2


           24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 22 of 46
 Fill in this information to identify your case:

 Debtor 1                    Charles D. Young
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF LOUISIANA

 Case number              5:24-bk-10242
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Charles D. Young                                                      X
              Charles D. Young                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date        March 15, 2024                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 23 of 46
 Fill in this information to identify your case:

 Debtor 1                  Charles D. Young
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF LOUISIANA

 Case number           5:24-bk-10242
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
        326 Meadowview Rd.                                      From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                                2014 to 2022                                                                     From-To:
        Longview, TX 75605


        2500 Downs St.                                          From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                                9/22 to 3/23                                                                     From-To:
        Bossier City, LA 71111


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,                $11,635.06
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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                   24-10242 - #7 File 03/15/24 Enter 03/15/24 14:12:53 Main Document Pg 24 of 46
 Debtor 1      Charles D. Young                                                                            Case number (if known)   5:24-bk-10242


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $75,636.00            Wages, commissions,              $49,543.00
 (January 1 to December 31, 2023 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $75,000.00            Wages, commissions,
 (January 1 to December 31, 2022 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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 Debtor 1      Charles D. Young                                                                            Case number (if known)    5:24-bk-10242


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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 Debtor 1      Charles D. Young                                                                            Case number (if known)      5:24-bk-10242


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                  Amount of
       Address                                                       transferred                                              or transfer was                payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Cook Law Firm                                             Court Filing Fee: $313.00Credit                          3.1.24                          $370.00
       4070 Hwy 80                                                   Counseling: $26.00Ordering Credit
       Haughton, LA 71037                                            Reports: $31.00


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                  Amount of
       Address                                                       transferred                                              or transfer was                payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or          Date transfer was
       Address                                                       property transferred                       payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                            Date Transfer was
                                                                                                                                                  made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 4

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 Debtor 1      Charles D. Young                                                                                 Case number (if known)   5:24-bk-10242


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or           Date account was              Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                   closed, sold,             before closing or
       Code)                                                                                                               moved, or                          transfer
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                      have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                              have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                                Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you             Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 5

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 Debtor 1      Charles D. Young                                                                                 Case number (if known)   5:24-bk-10242


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                 Governmental unit                             Environmental law, if you             Date of notice
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                            Nature of the case                       Status of the
        Case Number                                                  Name                                                                                case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business                  Employer Identification number
        Address                                                                                                      Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Charles D. Young
 Charles D. Young                                                        Signature of Debtor 2
 Signature of Debtor 1

 Date       March 15, 2024                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 6

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 Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by this
 Debtor 1              Charles D. Young
                                                                                                                  Statement:
 Debtor 2                                                                                                                1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                        11 U.S.C. § 1325(b)(3).
                                                                                                                         2. Disposable income is determined under 11
 United States Bankruptcy Court for the:            Western District of Louisiana                                           U.S.C. § 1325(b)(3).
                                                                                                                  ____________________________________________________________________________

 Case number           5:24-bk-10242                                                                                     3. The commitment period is 3 years.
 (if known)
                                                                                                                         4. The commitment period is 5 years.
                                                                                                                      Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                                      10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
       Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. § 101(10A).
    For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the 6 months,
    add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same
    rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                        Column B
                                                                                                         Debtor 1                        Debtor 2 or
                                                                                                                                         non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                              2,464.50              $             4,799.83
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                              $                0.00           $                     0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                                  0.00           $                     0.00
  5. Net income from operating a business,
     profession, or farm                                             Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                       0.00           $                     0.00
  6. Net income from rental and other real property                  Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from rental or other real property           $       0.00 Copy here -> $                       0.00           $                     0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                              page 1
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 Debtor 1      Charles D. Young                                                                                                               Case number (if known)    5:24-bk-10242


                                                                                                                                          Column A                      Column B
                                                                                                                                          Debtor 1                      Debtor 2 or
                                                                                                                                                                        non-filing spouse

  7. Interest, dividends, and royalties                                                                                                   $                  0.00       $           0.00
  8. Unemployment compensation                                                                                                            $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
            For you ....................................................................$                                 0.00
            For your spouse.......................................................$                                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.                    $                                                               0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                                                          $                  0.00       $           0.00
                                                                                                                                          $                  0.00       $           0.00
                     Total amounts from separate pages, if any.                                                                      +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                                                $           2,464.50           +$         4,799.83    =$          7,264.33

                                                                                                                                                                                            Total average
                                                                                                                                                                                            monthly income
 Part 2:          Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11. ............................................................................................... $ 7,264.33
  13. Calculate the marital adjustment. Check one:
          You are not married. Fill in 0 below.
          You are married and your spouse is filing with you. Fill in 0 below.
          You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
          such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
               Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments
               on a separate page.
               If this adjustment does not apply, enter 0 below.
                                                                                                                                 $
                                                                                                                                 $
                                                                                                                            +$

                         Total.........................................................................................      $                       0.00         Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                                                   $          7,264.33

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=> .........................................................................................................................................          $          7,264.33




Official Form 122C-1                  Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                        page 2
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 Debtor 1     Charles D. Young                                                                                                           Case number (if known)          5:24-bk-10242

                  Multiply line 15a by 12 (the number of months in a year).                                                                                                                  x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................                                               $     87,171.96


  16. Calculate the median family income that applies to you. Follow these steps:

       16a. Fill in the state in which you live.                                                     LA

       16b. Fill in the number of people in your household.                                           2
       16c. Fill in the median family income for your state and size of household. ..........................................................                                            $     63,440.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.              Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                         U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.              Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                         1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                         your current monthly income from line 14 above.
 Part 3:         Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 . .......................................................................................                               $                  7,264.33
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
     income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                                                                          $          7,264.33


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b....................................................................................................................................................            $      7,264.33

              Multiply by 12 (the number of months in a year).                                                                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                                                                             $     87,171.96




       20c. Copy the median family income for your state and size of household from line 16c........................................                                                     $     63,440.00

       21. How do the lines compare?

                      Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                      period is 3 years. Go to Part 4.

                      Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                      commitment period is 5 years. Go to Part 4.

 Part 4:         Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Charles D. Young
        Charles D. Young
        Signature of Debtor 1
       Date      March 15, 2024
                MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.


Official Form 122C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                           page 3
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 Fill in this information to identify your case:

 Debtor 1            Charles D. Young

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Louisiana

 Case number         5:24-bk-10242
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      04/22
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional
pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the the
    questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income


           Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus
           the number of any additional dependents whom you support. This number may be different from the                 2 Living
           number of people in your household.                                                                             Housing



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
           fill in the dollar amount for food, clothing, and other items.                                                    $                1,389.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.


    People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person              $         79.00
           7b. Number of people who are under 65                           X         2
           7c. Subtotal. Multiply line 7a by line 7b.                      $        158.00          Copy here=>    $      158.00

    People who are 65 years of age or older

          7d. Out-of-pocket health care allowance per person    $        154.00
Official Form 122C-2                             Chapter 13 Calculation of Your Disposable Income                                                 page 1
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 Debtor 1         Charles D. Young                                                                                     Case number (if known)      5:24-bk-10242

            7e. Number of people who are 65 or older                                    X              0
            7f.     Subtotal. Multiply line 7d by line 7e.                              $              0.00             Copy here=>        $             0.00

            7g. Total. Add line 7c and line 7f...............................................................   $      158.00                   Copy total here=> $        158.00


    Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
    purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the separate
    instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in
         the dollar amount listed for your county for insurance and operating expenses.                                    $              688.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                                      $        1,053.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                    To calculate the total average monthly payment, add all amounts that are
                    contractually due to each secured creditor in the 60 months after you file for
                    bankruptcy. Next divide by 60.

                    Name of the creditor                                                     Average monthly
                                                                                             payment

                    Nr/sms/cal                                                               $             1,746.00


                                                                                                                        Copy                                      Repeat this amount
                                        9b. Total average monthly payment                    $                  0.00    here=>        -$                  0.00 on line 33a.

            9c. Net mortgage or rent expense.

                    Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                           Copy
                    rent expense). If this number is less than $0, enter $0.                                               $           1,053.00          here=>    $        1,053.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                                $               0.00
             Explain why:




Official Form 122C-2                                             Chapter 13 Calculation of Your Disposable Income                                                               page 2
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 Debtor 1     Charles D. Young                                                                                   Case number (if known)   5:24-bk-10242

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.
               1. Go to line 12.
               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             242.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
        may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more
        than two vehicles.
     Vehicle 1         Describe Vehicle 1:
                                                  2019 Chevrolet 2500 120,000 miles
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             629.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 East Tx Professional                                              $             651.00
                 Esb/Harley Davidson                                               $             446.00

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $                 0.00         here =>       -$            0.00 line 33b.

                                                                                                                                                 Copy net
    13c. Net Vehicle 1 ownership or lease expense
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $             629.00      =>              $         629.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                   $

                                                                                                                  Copy
                                                                                                                                                  Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                              =>       -$             0.00    33c.


    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $               0.00      =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not
        claim more than the IRS Local Standard for Public Transportation.                                                                                    $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                 page 3
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 Debtor 1     Charles D. Young                                                                       Case number (if known)      5:24-bk-10242

    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
        subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                             $       1,631.19
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
        union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                         $             0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
        together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
        life insurance other than term.                                                                                                              $             0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.                    $             0.00
    20. Education: The total monthly amount that you pay for education that is either required:
          as a condition for your job, or
          for your physically or mentally challenged dependent child if no public education is available for similar services.                       $             0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                                    $             0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
        is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
        health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                                   $             0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                                 +$              0.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                           $     5,790.19
        Add lines 6 through 23.
    Additional Expense Deductions     These are additional deductions allowed by the Means Test.
                                      Note: Do not include any expense allowances listed in lines 6-24.
    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $        342.48
            Disability insurance                                          $          0.00
            Health savings account                                      +$           0.00

            Total                                                             $     342.48      Copy total here=> ...................................$         342.48


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                   Yes                                                        $
    26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                                         $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
        of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                                   $             0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                     page 4
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 Debtor 1     Charles D. Young                                                                                                         Case number (if known)          5:24-bk-10242
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line
        8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
            then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
            claimed is reasonable and necessary.                                                                                                                                             $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed
            is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.                                                             $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
        5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions
            for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                                                                    $                 0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                                                            $                 0.00

    32. Add all of the additional expense deductions.                                                                                                                                        $          342.48
        Add lines 25 through 31.

    Deductions for Debt Payment
    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
        and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                                                                     Average monthly
                                                                                                                                                                                         payment
    33a.      Copy line 9b here ...................................................................................................................................................=>    $                0.00
              Loans on your first two vehicles
    33b.      Copy line 13b here .................................................................................................................................................=>     $                0.00
    33c.      Copy line 13e here .................................................................................................................................................=>     $                0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                             Identify property that secures the debt                                          Does payment
                                                                                                                                                              include taxes
                                                                                                                                                              or insurance?

                                                                             2019 Harley Davidson Street Glide 28,000                                                No
             Performance Finance                                             miles                                                                                   Yes                 $             543.00

                                                                                                                                                                     No
                                                                                                                                                                     Yes                 $

                                                                                                                                                                     No
                                                                                                                                                                     Yes                +$


                                                                                                                                                                                 Copy
                                                                                                                                                                                 total
    33e      Total average monthly payment. Add lines 33a through 33d.....................................                                   $                     0.00          here=>          $          0.00




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                                       page 5
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 Debtor 1      Charles D. Young                                                                                            Case number (if known)     5:24-bk-10242
    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
        other property necessary for your support or the support of your dependents?
               No. Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments listed
                    in line 33, to keep possession of your property (called the cure amount). Next,
                    divide by 60 and fill in the information below.
     Name of the creditor                                        Identify property that secures the debt                       Total cure amount                  Monthly cure
                                                                                                                                                                  amount
     East Tx Professional                                         2019 Chevrolet 2500 120,000 miles        $                                  998.00 ÷ 60 = $                    16.63
                                                                  2016 Harley Davidson Soft Tail 16,000
     Esb/Harley Davidson                                          miles                                    $                                 732.00 ÷ 60 = $                     12.20
     Nr/sms/cal                                                   4803 N Market St. , Shreveport, LA 71107 $                              10,833.00 ÷ 60 = $                    180.55
                                                                  2019 Harley Davidson Street Glide
     Performance Finance                                          28,000 miles                             $                                  571.00 ÷ 60 = $                      9.52

                                                                                                                                                             Copy
                                                                                                                                                             total
                                                                                                                     Total $                   218.90        here=>       $         218.90

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
               No. Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims .................................................       $                    0.00      ÷ 60       $              0.00
    36. Projected monthly Chapter 13 plan payment                                                                              $
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                            X
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                           Copy total
        Average monthly administrative expense                                                                                     $                       here=> $



    37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                         $          218.90

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances ................................................................     $            5,790.19
            Copy line 32, All of the additional expense deductions ...........                      $               342.48
            Copy line 37, All of the deductions for debt payment ..............                    +$               218.90


            Total deductions....................................................................    $            6,351.57              Copy total here=>             $            6,351.57




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                                 page 6
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 Debtor 1    Charles D. Young                                                                                       Case number (if known)    5:24-bk-10242

 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period...................................                          $                  7,264.33
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                                            $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified in
        11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                          $                                       0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ....=>                            $            6,351.57
    43. Deduction for special circumstances. If special circumstances justify additional expenses
        and you have no reasonable alternative, describe the special circumstances and their
        expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                             Amount of expense

                                                                                               $                      0.00

                                                                                               $                      0.00

                                                                                               $                      0.00

                                                                                                                           Copy
                                                                                  Total $                    0.00          here=> $                   0.00


                                                                                                                                                 Copy
    44. Total adjustments. Add lines 40 through 43. ...........................................................=>      $          6,351.57       here=> -$           6,351.57


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                   $              912.76

 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
        changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time
        your case will be open, fill in the information below. For example, if the wages reported increased after you filed
        your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages
        increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                               Date of change              Increase or       Amount of change
                                                                                                                                decrease?




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                            page 7
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 Debtor 1     Charles D. Young                                                                     Case number (if known)   5:24-bk-10242




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Charles D. Young
             Charles D. Young
             Signature of Debtor 1
    Date      March 15, 2024
             MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 8
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 Debtor 1    Charles D. Young                                                                      Case number (if known)   5:24-bk-10242


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 09/01/2023 to 02/29/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: AP Fabrications LLC
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $63,018.00 from check dated 08/31/2023 .
Ending Year-to-Date Income: $77,805.00 from check dated 12/31/2023 .

This Year:
Current Year-to-Date Income: $0.00 from check dated                         02/29/2024    .

Income for six-month period (Current+(Ending-Starting)): $14,787.00 .
Average Monthly Income: $2,464.50 .




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 9
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 Debtor 1    Charles D. Young                                                                      Case number (if known)   5:24-bk-10242

                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 09/01/2023 to 02/29/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Signature Property Management
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $18,958.31 from check dated 08/31/2023 .
Ending Year-to-Date Income: $40,824.95 from check dated 12/31/2023 .

This Year:
Current Year-to-Date Income: $2,708.33 from check dated                          02/29/2024   .

Income for six-month period (Current+(Ending-Starting)): $24,574.97 .
Average Monthly Income: $4,095.83 .



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: River Oaks Shreveport Apartments LLC
Income by Month:
 6 Months Ago:                                   09/2023                       $0.00
 5 Months Ago:                                   10/2023                       $0.00
 4 Months Ago:                                   11/2023                       $0.00
 3 Months Ago:                                   12/2023                       $0.00
 2 Months Ago:                                   01/2024                     $983.00
 Last Month:                                     02/2024                   $3,241.00
                                 Average per month:                          $704.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                       page 10
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167       filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738       total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200          filing fee                                               years or 5 years, depending on your income and other
 +                  $78          administrative fee                                       factors.
                   $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235          filing fee                                                      debts for fraud or defalcation while acting in a
 +                  $78          administrative fee                                              fiduciary capacity,
                   $313          total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty of
        perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
        with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
        imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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